                                                                                Case 3:16-cv-04884-WHA Document 53 Filed 12/09/16 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   JASON PARKER,                                                  No. C 16-04884 WHA

                                                                         10                  Plaintiff,

                                                                         11     v.                                                           ORDER RE PLAINTIFF’S
United States District Court




                                                                                                                                             NOTICE OF VOLUNTARY
                                                                              HEY, INC., and TWITTER, INC.,                                  DISMISSAL
                               For the Northern District of California




                                                                         12
                                                                         13                  Defendants.
                                                                                                                           /
                                                                         14
                                                                         15          The Court is in receipt of plaintiff Jason Parker’s notice of voluntary dismissal (Dkt. No.

                                                                         16   52) following a hearing yesterday on defendant Twitter’s motion to dismiss (Dkt. No. 49). The

                                                                         17   notice indicates plaintiff plans to re-file this action in state court. Although the Court gave a

                                                                         18   tentative ruling at the aforementioned hearing with respect to Twitter’s arguments regarding the

                                                                         19   Communications Decency Act, consent, and the First Amendment, the Court’s views on those

                                                                         20   issues were tentative, not final. At the time of plaintiff’s voluntary dismissal, the Court still had

                                                                         21   Twitter’s arguments, including those made by counsel at oral argument, under active

                                                                         22   consideration. Thus, under no circumstances should plaintiff’s counsel represent to the state

                                                                         23   court that the undersigned judge has already ruled against defendants here.

                                                                         24          Counsel shall immediately notify the Court if the voluntary dismissal of this action is in

                                                                         25   connection with a settlement agreement of any kind between the parties.

                                                                         26          IT IS SO ORDERED.

                                                                         27
                                                                         28   Dated: December 9, 2016.
                                                                                                                                        WILLIAM ALSUP
                                                                                                                                        UNITED STATES DISTRICT JUDGE
